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Attorneys for Sohail Amin


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
                             SACRAMENTO DIVISION


                                       )    No. 2:10-CR-00364-MCE
UNITED STATES OF AMERICA,              )
                                       )    STIPULATION AND ORDER
                            Plaintiff, )    RESETTING STATUS CONFERENCE
                                       )    AND EXCLUDING TIME UNDER THE
v.                                     )    SPEEDY TRIAL ACT
                                       )
SOHAIL AMIN,                           )
                                       )    Date: April 5, 2012
                            Defendant. )    Time: 9:00 a.m.
                                       )    Courtroom 7
                                       )    Hon. Morrison C. England
                                       )



      IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the March
8, 2012 Status Conference in the above-captioned matter be set for 9:00 a.m. on
April 5, 2012, in the same courtroom, and that the time beginning March 8, 2012, and
extending through April 5, 2012, should be excluded from the calculation of time under
the Speedy Trial Act. The parties submit that the interests of justice are served by the
exclusion of time, which will provide defense counsel reasonable time necessary for
effective preparation, taking into account the exercise of due diligence and the receipt
from the government of additional discovery on February 29, 2012. 18 USC
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3161(h)(7)(a) and (b)(iv) and Local T4. Defense counsel will need more time to
prepare, which will include reviewing the new discovery, discussing that discovery with
the defendant, considering new evidence that may affect the disposition of the case,
conducting necessary legal research and investigation, and then discussing with the
defendant how to proceed.
          The parties stipulate and agree that the interests of justice served by granting
this continuance outweigh the best interests of the public and the defendant in a
speedy trial. See 18 USC 3161(h)(7)(a) and (b)(iv) and Local T4 (reasonable time for
preparation of counsel). Michael M. Beckwith, Assistant U.S. Attorney, and Cristina C.
Arguedas, Attorney for Defendant Sohail Amin, agree to this continuance.


IT IS SO STIPULATED.


DATED: March 6, 2012                  By: /s/ Cristina C. Arguedas_ ____
                                      CRISTINA C. ARGUEDAS
                                      Attorney for Defendant
                                      SOHAIL AMIN

DATED: March 6, 2012                  BENJAMIN WAGNER
                                      United States Attorney

                                      By: /s/ Michael M. Beckwith_
                                      MICHAEL M. BECKWITH Assistant U.S. Attorney

IT IS SO ORDERED.


Dated: March 8, 2012

                                         __________________________________
                                         MORRISON C. ENGLAND, JR
                                         UNITED STATES DISTRICT JUDGE
re-END:
